Case 1:22-cr-00673-LAK Document 475 _ Filed 08/21/24 Pagelof1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.

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UNITED STATES OF AMERICA,
-against- (S7) 22-cr-0673 (LAK)
RYAN SALAME,
Defendant.
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ORDER

LEWIS A. KAPLAN, District Judge.

The government shall file its response to this defendant’s petition for a writ of error
coram nobis or other relief on or before September 4, 2024. The defendant shall file any reply
papers at or before | p.m. on September 10, 2024. The Court will hear argument on September 12,
2024 at 10 a.m.

As counsel who filed this petition on behalf of defendant have not appeared nor are
admitted to practice in this Court, the Clerk will email a copy of this order to them immediately
upon its filing.

SO ORDERED.

Dated: August 21, 2024

Lewis A. Kaplan \
United States District Judge

